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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION



  ERIN ALDRICH, LONDA BEVINS,
  JESSICA JOHNSON, AND BEATA
  CORCORAN, individually and on behalf of
  all others similarly situated,

                 Plaintiffs,
                                                       Case No. 1:20-cv-02310-JRS-MPB
         vs.

  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION, THE BOARD OF                            Judge:   Hon. James R. Sweeney II
  GOVERNORS OF THE NATIONAL
  COLLEGIATE ATHLETIC ASSOCIATION,
  and JOHN REMBAO,

                 Defendants.

   MOTION TO POSTPONE SCHEDULING CONFERENCE, HOLD L.R. 16-1(C)(1) IN
                 ABEYANCE, AND/OR STAY DISCOVERY

         Defendants the National Collegiate Athletic Association (“the NCAA”) and its Board of

  Governors (“the Board”) (collectively “Defendants”), by counsel, respectfully move this

  Honorable Court to wait on setting a scheduling conference in this case, hold Local Rule 16-

  1(c)(1) in abeyance, and/or otherwise stay discovery until Defendants’ anticipated motion to

  dismiss is adjudicated. Under the parties’ proposed schedule, briefing on the anticipated motion

  to dismiss will be completed on January 8, 2021. Defendants have contemporaneously filed a

  supporting Brief explaining the reasons this motion should be granted.




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  DATED: October 12, 2020          FAEGRE DRINKER BIDDLE & REATH LLP



                                   By:          /s/ Andrea Roberts Pierson
                                         ANDREA ROBERTS PIERSON
                                         NICHOLAS B. ALFORD
                                         FAEGRE DRINKER BIDDLE & REATH LLP
                                         300 N. Meridian Street, Suite 2500
                                         Indianapolis, Indiana 46204
                                         Telephone:       (317) 237-1424
                                         Facsimile:       (317) 237-1000
                                         Email: andrea.pierson@faegredrinker.com
                                                   nicholas.alford@faegredrinker.com

                                         CAROLYN HOECKER LUEDTKE
                                         (pro hac vice)
                                         TERRA CASTILLO LAUGHTON
                                         (pro hac vice)
                                         MUNGER, TOLLES & OLSON LLP
                                         560 Mission Street, Twenty-Seventh Floor
                                         San Francisco, California 94105-3089
                                         Telephone:      (415) 512-4000
                                         Facsimile:      (415) 512-4077
                                         Email: Carolyn.Luedtke@mto.com
                                                  Terra.Laughton@mto.com

                                         GLENN D. POMERANTZ
                                         (pro hac vice)
                                         HAILYN J. CHEN
                                         (pro hac vice)
                                         LAUREN M. HARDING
                                         (pro hac vice)
                                         MUNGER, TOLLES & OLSON LLP
                                         350 South Grand Avenue, Fiftieth Floor
                                         Los Angeles, California 90071-3426
                                         Telephone:      (213) 683-9100
                                         Facsimile:      (213) 687-3702
                                         Email: Glenn.Pomerantz@mto.com
                                                  Hailyn.Chen@mto.com
                                                  Lauren.Harding@mto.com

                                   Attorneys for Defendants The National Collegiate
                                   Athletic Association and The Board of Governors of
                                   the National Collegiate Athletic Association




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                                     CERTIFICATE OF SERVICE

         I hereby certify that on October 12, 2020, a copy of the foregoing was filed electronically

  with the Clerk of the Court using the Court’s CM/ECF system. Parties may access this filing

  through the Court’s system.




                                                          /s/ Andrea Roberts Pierson




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